Case 1:19-cV-Ol449-.]RS-I\/|PB Document 1-1 Filed 04/10/19 Page 1 of 9 Page|D #: 3

49003-1 903-01'-01 1906 Filed: 3/25/2019 11:43 An
Marion Superior Court, Civil Division 3 Marion County, lm<!;i|aer::
S`”I`ATE OF INDIANA ) IN THBI\;IARION COUNTY SUPERIOR COURT
) SS: ` ,,
COUNTY OF MARI.ON ) 'CAUS'E NO.
SUSANA FICKLIN & CHARLES FLCKLIN, )
)
)
Plaintiffs~, )
vs. )
`)
HARRIS & HARRIS, LTD., `)
)
Defendanr. )

sUMMoNs FoR QQMPLAINT §
§

TO D`EFENDANT: JENNIFER KALAS, ATTORNE`Y AT LA’W
AGENT F R SERVICE OF PROCESS F R HARRIS & HARB.'IS LTD.
HINS HAW § CULBERTSON, 322 INDPLS BLVD.= SUITE 201
SCHERERVH.I R.. IN 46375
SERVI`CE B-Y CERTIFIED M.AIL

 
 

 

 

 

You are hereby notified fhat you have been sued by the person names as Pl~ain'£iff and in the
Court indicated above.

"f`he nature of the suit against you is stated in the Comp§aint which is attached to this
Summons. lt also states the relief sought or the demand made against you by the P}aintiff.

An answer or other appropriate response in writing to the Complaint must be filed either by
you or your attorney within monty (2.0) days, commencing the day after you receive this Summons,
{or twent§,"three (23) days if this Summons was received by mail), or ajudgment by default may be
rendered against you for'the relief demanded by Plaintiff.

If you have a claim for relief against the Plaintitf arising from the same transaction or
occurrence, you must assert it in your written answer.

 

3/25/2019 Vz¢t,?§<~, e;z... ibew ,¢»S_{;
Date ‘ Clerk, Marion County Superior Court
Richard B. Gonon, 8431~49
Attomey at Law, LLC
'9465 Counselors Row
Suice 200

 

`Indianapolis, Indiana 46204

Telephone No, (3 17) 805-481 6

A'ctomey for Plaimlff

The following mannex of service of Summcms 'ifs hereby designatod:

SERVICE BY CERTIFIED M.AIL

Exhibit A

 

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49003-1903-cT-011906 ~ F"ed= 312512°1911=4§|;\3
Marion Superior Court, Civil Division 3 Marion County, indiana

S'I`ATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COUR'i"
) SS:
COUNTY OF MARl()N ) CAUSE NO.

SUSANA FICKLIN & CHARLES FICKLIN, )
)

Plaintiffs, )

)

v. )

)

HARRIS & HARRIS, LTD., )
)

Dcl`endant. )

COMPLAINT FOR VIOLATI()NS OF THE FAIR DEBT COLLECTION
PRAC'I`ICES ACT AND THE lNDIANA DECEPTIVE CONSUMER SALES ACT

AND A REQ_UEST FOR A TRIAL BY JURY

Plaintiffs, by counsel, and for their Complaint against the Dcfendant, state as follows:
M£§

l. The Plaintit`fs, Susana Ficklin, (“SF”), & Charles Ficklin, (“CF”), are husband and wife and
reside in lndianapolis, Marion County, lndiana.

2. Han'is & Harris, Ltd., (“HH”), is a debt collector as defined by section 1692a of the l~` air Debt
Collection Practices Act_, 15 USC § 1692 et seq, (“FDCPA”’ , because HH through its employees b
regularly attempts to collect delinquent consumer debts, including delinquent consumer debts in Indiana,
and Was acting as a debt collector as to the alleged debt HH attempted to collect from SK & CK..
Moreover, said HH is also a supplier and therefore a debt collector as that term is defined and or used
within the lndiana Deceptive Consumer Sales Act, lnd. Code § 24~5-0.5 et seq, (“IDCSA”).

Factual Bacl_§ground

3. In or about January, 2019, CF received a telephone call from an employee of HH, a debt collector
whose name is presently unknown Said debt collector, in the course and scope of his cmployment,
engaged in unlawful third party disclosure by making an oral demand upon CF to promptly pay in full

a debt for various hospital bills allegedly incurred by SF.

Exhibit A

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4. CF told this debt collector that he is unaware of any such debt. that it is not his responsibility and

also instructed this debt collector to not communicate with him again
5. On the following day_. however, in total and reckless disregard of CF’s previous directives, CF

received another telephone call from a debt collector also employed at HH. This debt collector also

engaged in unlawful third party disclosure by again making an oral demand upon CF to promptly pay

in full a debt for various hospital bills allegedly incurred by SF. At that time, however, CF reiterated

what he had told the debt collector the day before, and again demanded that HH and its employees cease

and desist from communicating With him. Upon information and belief however, this pattern of conduct

did not stop, but rather HH continued to annoy, harass and falsely attempt to collect the above alleged

debt from him.

6. CF is a senior citizen that is permanently disabled and HH’s conduct Was extremely disconcerting

because it exacerbated CF’s tenuous physical and emotional circumstances Furthermore, HH’s

aforementioned unlawful third party disclosure infringed upon SF’s right to privacy and her rights under

the FDCPA.
COUNTS ARISING UNDER THE FDCI’A

CoUN'r 1
vloi.A'rloN oF sac'rroN 169;<1(5)

'7. CF realleges and incorporates by reference paragraphs l through 6 inclusive as if more
fully stated herein.

8. Section 1692d of the FDCPA promulgates that a debt collector may not engage in any
conduct the natural consequence of which is to harass, oppress, or abuse any person in
connection with the collection of a debt Moreover, subsection (5) states that the above section
is violated when a debt collector causes a telephone to ring or engages any person in telephone
conversation repeatedly or continuously with the intent to annoy, abuse, or harass any person at

the called number.

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9. HH violated the above when its debt collectors and telephone representatives continued to
attempt collection of the aforementioned debt against CF after being notified by CF to cease and
desist from communicating with him.

10. As a result of the above, CF has been harmed and has suffered damages by HH"s unlawful
debt collection activity
WHEREF()RE3 the Plaintift`, Charles Ficklin, prays for a Judgment against the Det`endant
for actualidamages, statutory damages, attorney fees§ costs, and for all other just and proper
relief.

COUNT II
VIOI¢,ATION OF SEC'I`[ON 1692€

l 1. CF realleges, and incorporates by reference paragraphs l through 10 inclusive, as if more
fully stated herein.

12. Section l692e of the FDCPA promulgates that a debt collector may not use any false,
deceptive5 or misleading representation or means in connection with the collection of any debt.
Moreover, subsection (2)(A) states that the above section is vioiated if a debt collector makes a
false representation of the character, legal status or amount of any debt.

13. HH vio¥ated the above When its debt collectors and telephone representatives engaged in
unlawful debt collection efforts against CF by attempting to collect from him unpaid hospital
bills that Were allegedly incurred by SF. At that juncture, HH knew or should have known that it
Was not CF’$ legal responsibility to remit payment for any balance due and owing for hospital
bills that were allegedly incurred by SF. Such conduct is clearly tantamount to false, deceptive
and misleading means in connection with the above.

WHEREFQRE, the Plaintiff, Charles Fickiin, prays for a ludgment against the Defendant

for actual damages statutory damages, attorney fees, costs and for all otherjust and proper relief.

Exhibit A

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COUNT III
VIOL_ATION OF SECTI()N 1692gga[

l4. CF realleges paragraphs l through 13§ inclusive, as if more fully stated herein
15. Section 1692g(a) ot' the FDCPA promulgates that a debt collector must do the following:

(a) Within five days after the initial communication with a consumer in connection with the
collection of any debt, a debt collector shall_. unless the following information is contained in the
initial communication or the consumer has paid the debt, send the consumer a written notice
containing . .

(l) the amount of the debt;

(2) the name of the creditor to whom the debt is owed;

(3`) a statement that unless the consumer, within thirty days alter receipt of the notice,
disputes the validity ot` the debt, or any portion thereo;t`, the debt will be assumed to be valid by
the debt collector;

(4) a statement that if the consumer notifies the debt collector in writing within the thirty day
period of the debt, or any portion thereof is disputed, the debt collector Will obtain verification of
the debtor a copy of a judgment against the consumer and a copy of such verification or
judgment will be mailed to the consumer by the debt coilector; and

(5) a statement that, upon the consumer’s written request within the thirty day period, the

debt collector will provide the consumer with the name and address of the original creditor, if
different from the current creditor

16. HH’s initial communication to CF, in connection with the collection of SF’s alleged debt
for various hospital bills_, took place on a telephone conversation in or about January, 2019. Within
five days thereafter, however, HH failed to provide to CF the statutorily required written notice
under l692g(a) above As a result, HH’s conduct is a violation ofthe above.

WHEREFORE, the Plaintiff, Charles Ficklin, prays for a Judgrnent for actual damages,
statutory damages, attorney fees, costs, and for all other just and proper relief.
cc_v_u'r_lx
VIOLATION OF _S_ECTION 1639

17 . SF realleges paragraphs l through 16, inclusive, as if more fully stated here.

lS. Subsection (b`) of the above states that except as provided in section l692b of this title, without
the prior consent of the consumer given directly to the debt collector, or the express consent of a court

of competent jurisdiction, or as reasonmspry to effectuate a post judgmentjudicial remedy, a

Case

 

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debt collector may not communicate, in connection with the collection of any debt, with any person
other than the consumer, his attorney, a consumer reporting agency if otherwise permitted by law, the
creditor, the attorney of the creditor, or the attorney of the debt collector.

l9. HH violated the above when its debt collectors and telephone representatives telephoned SF’s
residence and without legal justification, engaged in wrongful third patty disclosure to Cl" by discussing
with him on a few occasions, a debt for various hospital bills allegedly incurred by SF. Moreover, such
conduct by HH was a clearly an infringement on SF’s right to privacy and has caused her, inter alia._
emotional strife.

WHEREFORE, the Plaintiff, Susana Ficklin, prays for a Judgment against the Det`endant for

actual damages statutory damages, attorney feesi costs, and all other just and proper relief.

COUNT ARISING U.NDER TI'!_E INDIANA DECEPTIVE CONSUMER SALE_S ACT

COUNT V
VIOLA'I`IONS OF I.C. 24-5- .5-3ga| and fb)j 201

20. SF & CF, reallege Paragraphs l through 19, inclusive, and incorporate them by reference as if

more fully stated herein.
21. Sections 24-5-0.5-3(3) and 24.5-0.5-3(b)(20) of the IDCSA state in pertinent part the following:
“A supplier may not commit an unfair, abusive, or deceptive act, omission, or practice in connection
with a consumer transaction Such an act, omission, or practice by a supplier is a violation of this
chapter whether it occurs before, during, or after the transaction An act, ornission, or practice prohibited
by this section includes both implicit and explicit misrepresentations.”

“Without limiting the scope of subsection (a), the following acts, and the following representations as
to the subject matter of a consumer transaction, made orally, in writing, or by electronic communication,
by a supplier are deceptive acts: The violation by a supplier of the federal Fa.ir Debt Collection Practices
Act, including any rules or regulations issued under the federal F air Debt Collection Practices Act.”

22. For the reasons stated above, HH has engaged in conduct that constitutes unfair, abusive and
deceptive practices that were also clearly willful and incurable in nature, as these terms are more fully

defined,,described and or contemplated under the lDCPA. ln addition, such conduct violates the

FDCPA.
Exhibit A

 

 

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23. As a result, pursuant to I.C. § 24-5~0.5-4,(3)(1)(2) the above is clearly actionable by consumers
such as SF and CF_, and therefore subjects I~~lH to the remedies and penalties thereunder, including
three times the actual damages suffered by SF and CF.

WHEREFORE, the Plaintiffs, Susana Ficklin and Charles Ficklin, pray for a Judgment against the
Defendant, for actual damages enhanced damages of up to three times their actual damages for attorney
fees, costs, and all other just and proper relief.

Respectfully submitted,
Richard B. Gonon, LLC
/s! Richard B. Gonon
chhard B. Gonon, 8431-49
Attorney for Plaintift`s
JURY DEMAND
Pursuant to ”f`rial Rule 38, the Plaintiffs request a trial by jury in this Cause.

/s/ Richard B. Gonon
Attorney for Plaintiffs

Richard B. Gonon
Attorney at Law, LLC
9465 Counselors Row
Suite 200

indianapolis IN 46240
(317) 805_4816 (0)
(317) 993-3136 (F)

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Exhibit A

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Marion Superior Court, Civil Division 3 Marlon County, lndl|aeri:
STATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COURT
) SS:
COUNTY OF MARION ) CAUSE NO.
SUSANA FiCKLIN & CHARLES FICKLiN., )
)
Plaintiffs, l
)
vs. )
)
HARRIS & HARRIS, LTD., )
)
Defendant. )

APPEARANCE BY ATTORNEY IN CIVIL CASE
This Appearance Form must be filed on behalf of every party in a civil case.

l 'I`he party on Whose behalf this form is being filed is Initiating, and the undersigned
attorney listed on this form now appears in this case for the following parties:

Plaimiffs, susana Fi¢knn & charles moran
2. Attorney information for service as required by Trial Rulc 5(B)(2):

Richard B. Gonon, 8431-49
Attorney at Law, LLC

9465 Counselors Row

Suite 200

lndianapolis, indiana 46240
Phonc: 3}7~805-4816

Fax: 317-993-3136

Email Address: rgonon@aol.com

IMPORTANT: Each attorney specified on this Appearance:

(a) Certities that the contact information listed for him on the Indiana Supreme Court Roll
of Attorneys is current and accurate as of the date ol:` this Appearance;

(_b) Acknowledges that all orders, opinions, and notices from the court in this matter that are
served under T'rial Rule 86(G) will be sent to the to the attorneys at the entail addresses
specified by the attorney on the Roll of Attorneys regardless of the contact information
listed above for the attorney; and

(b) Understands that lie/she is solely responsible for keeping his/her Roll of attorneys
contact information current and accurate, see lnd. Admis. Disc. R. 2(A).

Exhibi|: A

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Attomeys can review and update their Roll of Attorneys contact information on the Courts
Portal at htt :/.f’ ortal.courts.in. ov.

   

. This is n/a case type as defined in Administ:rative Rule 8(b)(3).
. This case involves child support issues Yes_ No __§c__
. There are related cases; Yes__ No _)_<__

. Additional information required by local rule:

 

There are other party member: Yes: ___ No __);_

. l will accept service by FAX: No.

l Will accept service by E-MAIL at the above noted address: YCS

10. 'i`his form has been serves on all other parties and Certiiicatc of Service is attached:

Respectfully submitted,
Richard B. Gonon_. LLC
/'s/ Richard B. Gonon

Ricltard B. Gonon, 8431-49
Attorney for Plaintiffs

Exhibit A

 

